    Case 4:23-cr-00288-O Document 37 Filed 10/17/23               Page 1 of 8 PageID 56




                        IN TI{E TINITED STATES DISTRICT COURT
                        FOR TIIE NORTTM,RN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

LTNITED STATES OF AMERICA

V                                                       NO      4:23-CR-288-O
AMBER RACHELL BAKER (01)


        PLEA AGREEMENT PURSUANT TO FED. R. CRIM. P. ll(cXlXB)
                     WITH WAIVER OF APPEAL

       Amber Rachell Baker, the defendant; Justin Sparks, the defendant's attorney; and

the United States of America (the government) agree as follows:

      1.          Rights of the defendant: The defendant understands that the defendant

has the rights:

                  a.    to plead not guilty;

                  b.    to have atrial by jury;


                  c.    to have the defendant's guilt proven beyond a reasonable doubt;

                  d.    to confront and cross-examine witnesses and to call witnesses in the
                        defendant's defense; and

                  e.    against compelled self-incrimination.


       2.         Waiver of rights and plea of guilty: The defendant waives these rights

and pleads guilty to the offense alleged in Count One of the Information, charging a

violation of 18 U.S.C. $$ 1952(a)(3) and (A), that is, Use of a Facility of Interstate

Commerce in Aid of a Racketeering Enterprise. The defendant understands the nature



Plea Agreement-Page 1
  Case 4:23-cr-00288-O Document 37 Filed 10/17/23                 Page 2 of 8 PageID 57




and elements of the crime to which the defendant is pleading guilty, and agrees that the

factual resume the defendant has signed is true and willbe submitted as evidence.

       3.     Sentence: The penalties the Court can impose include

              a.        imprisonment for a period not to exceed five (5) years;


              b.        a fine not to exceed $250,000, or twice any pecuniary gain to the
                        defendant or loss to the victim(s);


              c.        a term of supervised release of not more than three (3) years, which
                        may be mandatory under the law and will follow any term of
                        imprisonment. If the defendant violates the conditions of supervised
                        release, the defendant could be imprisoned for the entire term of
                        supervised release;


              d.        a mandatory special assessment of $100;


                        restitution to victims or to the community, which may be mandatory
                        under the law, and which the defendant agrees may include
                        restitution arising from all relevant conduct, not limited to that
                        arising from the offense of conviction alone;


              f.        costs of incarceration and supervision; and


              g.        forfeiture of property.

       4.     Court's sentencing discretion and role of the Guidelines: The defendant

understands that the sentence in this case will be imposed by the Court after consideration

of the United States Sentencing Guidelines. The guidelines are not binding on the Court,

but are advisory only. The defendant has reviewed the guidelines with the defendant's

attomey, but understands no one can predict with certainty the outcome of the Court's

consideration of the guidelines in this case. Pursuant to Federal Rule of Criminal


Plea Agreement-Page 2
  Case 4:23-cr-00288-O Document 37 Filed 10/17/23              Page 3 of 8 PageID 58




Procedure 11(c)(l)(B), the government recommends that the appropriate term of

imprisonment in this case is no more than24 months. However, the defendant

understands that this recommendation is not binding on the Court, and the defendant will

not be allowed to withdraw the defendant's plea if the recommendation is not adopted, if

the applicable advisory guideline range is higher than expected, or if the Court departs

from the applicable guideline range. The defendant fully understands that the actual

sentence imposed (so long as it is within the statutory maximum) is solely in the

discretion of the Court.

       5.     Defendant's agreement. The defendant shall not knowingly provide false

information to the U.S. Probation Office (USPO), the Court, or the government relating

to the offense(s) of conviction and all relevant conduct, or any information the defendant

must provide related to this agreement.

       6.     Mandatory special assessment: The defendant agrees to pay the U.S.

District Clerk the amount of $ 100 in satisfaction of the mandatory special assessment(s)

prior to sentencing.

       7.     Financial Obligations: The defendant understands that any financial

obligation imposed by the Court for restitution, fines, or special assessments is due and

payable immediately. In the event the Court imposes a schedule for payment, the

defendant agrees that such a schedule represents a minimum payment obligation and does

not preclude the U.S. Attomey's Office from pursuing any other means by which to

satis$z the defendant's full and immediately enforceable financial obligation. The

defendant understands that the defendant has a continuing obligation to pay in full as

Plea Agreement-Page 3
  Case 4:23-cr-00288-O Document 37 Filed 10/17/23               Page 4 of 8 PageID 59




soon as possible any financial obligation imposed by the Court. The defendant further

agrees as follows:

              a. The defendant agrees that the financial statement, with any supporting
                  documents, the defendant provides to the USPO may be shared with the

                  Court and the government.

              b. The defendant shall submit to interviews by the government and the
                  USPO regarding the defendant's capacity to satisff any fine, restitution,

                  or special assessment.

              c. The defendant expressly authorizes the United States Aftorney's Office
                  to immediately obtain a credit report on the defendant to evaluate the

                  defendant's ability to satisS any financial obligation imposed by the

                  Court.

       8.     Restitution: The defendant agrees that the Court is authorized to order, and

the defendant agrees to pay, restitution for all loss resulting from the offense(s) of

conviction and all relevant conduct, in an amount to be determined by the Court.

Defendant agrees that, for purposes of this paragraph, restitution for relevant conduct

shall include all acts and omissions described in USSG $ 181.3(a)(l)(A) and (l)(B), as

well as all acts and omissions that were part of the same course of conduct or common

scheme or plan, regardless whether the grouping rules in USSG $ 3D1 .2 mightapply to

computation of the advisory imprisonment range. The defendant understands that should

the Court order that restitution be paid jointly and severally with others who are required

to pay restitution for the same loss to victims that credit may not be received for all

Plea Agreement-Page 4
  Case 4:23-cr-00288-O Document 37 Filed 10/17/23               Page 5 of 8 PageID 60




payments made by any other person with joint and several liability. The defendant agrees

that any restitution ordered to be paid jointly and severally remains the responsibility of

the defendant until the defendant has paid the defendant's ordered amount of restitution

in fuIl or the respective victim has been paid in full.

       9.     Forfeiture of property: The defendant agrees not to contest, challenge, or

appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United

States of any property noted as subject to forfeiture in the indictment or information, or

seized or restrained in the investigation underlying the indictment or information. The

defendant consents to entry of any orders or declarations of forfeiture regarding such

property and waives any requirements (including notice of forfeiture) set out in 19 U.S.C.

$$ 1607-1609; 18 U.S.C. $$ 981, 983, and 985; the Code of Federal Regulations; and

Rules 11 and 32.2 of the Federal Rules of Criminal Procedure. The defendant agrees to

provide truthful information and evidence necessary for the govemment to forfeit such

property. The defendant agrees to hold the govemment, its officers, agents, and

employees harmless from any claim whatsoever in connection with the seizure,

forfeiture, storage, or disposal ofsuch property.

       10. Government's agreement: The govemment will not bring any additional
charges against the defendant based upon the conduct underlying and related to the

defendant's plea of guilty. The govemment will file a Supplement in this case, as is

routinely done in every case, even though there may or may not be any additional terms.

The government will dismiss, after sentencing, any remaining charges in the pending

Information. This agreement is limited to the United States Attorney's Office for the

Plea Agreement-Page 5
  Case 4:23-cr-00288-O Document 37 Filed 10/17/23                Page 6 of 8 PageID 61




Northem District of Texas and does not bind any other federal, state, or local prosecuting

authorities, nor does it prohibit any civil or administrative proceeding against the

defendant or any property.

       1   1. Violation of agreement: The defendant understands that if the defendant
violates any provision of this agreement, or if the defendant's guilty plea is vacated or

withdrawn, the government will be free from any obligations of the agreement and free to

prosecute the defendant for all offenses of which it has knowledge, including the

reinstatement of charges dismissed pursuant to this plea agreement. In the event of such

a violation, vacatur, or withdrawal, the defendant waives all objections based upon delay

in prosecution. If the plea is vacated or withdrawn for any reason other than a finding

that it was involuntary, the defendant also waives all objections to the use against the

defendant of any information or statements the defendant has provided to the

government, and any resulting leads.

       12. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result of force or threats, or of promises apart from those set forth in this plea

agreement. There have been no guarantees or promises from anyone as to what sentence

the Court will impose.

       13. Waiver of right to appeal or otherwise challenge sentence: The
defendant waives the defendant's rights, conferred by 28 U.S.C. $ 1291 and 18 U.S.C.

$ 3742, to appeal the conviction, sentence, fine and order of restitution or forfeiture in an

amount to be determined by the Court. The defendant further waives the defendant's

right to contest the conviction, sentence, fine and order of restitution or forfeiture in any

Plea Agreement-Page 6
  Case 4:23-cr-00288-O Document 37 Filed 10/17/23                Page 7 of 8 PageID 62




collateral proceeding, including proceedings under 28 U.S.C. S 2241 and28 U.S.C.

S 2255. The defendant, however, reserves the rights (a) to bring a direct appeal of (i) a

sentence exceeding the statutory maximum punishment, or (ii) an arithmetic error at

sentencing, (b) to challenge the voluntariness of the defendant's plea of guilty or this

waiver, and (c) to bring a claim of ineffective assistance of counsel.

        14. Representation of counsel: The defendant has thoroughly reviewed all
legal and factual aspects of this case with the defendant's attorney and is fully satisfied

with that attomey's legal representation. The defendant has received from the

defendant's attomey explanations satisfactory to the defendant conceming each

paragraph of this plea agreement, each of the defendant's rights affected by this

agreement, and the alternatives available to the defendant other than entering into this

agreement. Because the defendant concedes that the defendant is guilty, and after

conferring with the defendant's attorney, the defendant has concluded that it is in the

defendant's best interest to enter into this plea agreement and all its terms, rather than to

proceed to trial in this case.

       15. Entirety of agreement: This document, including any Supplement filed
contemporaneously, is a complete statement of the parties' agreement and may not be

modilted unless the modification is in writing and signed by all parties. This agreement

supersedes any and all other promises, representations, understandings, and agreements

that are or were made between the parties at any time before the guilty plea is entered in

court. No promises or representations have been made by the United States except as set

forth in writing in this plea agreement.

Plea Agreement-Page 7
Case 4:23-cr-00288-O Document 37 Filed 10/17/23                       Page 8 of 8 PageID 63




   AGREED ro AND sIGNED this I            I     <ray   orOClO'ftr ,2023.
                                              LEIGFIA SIMONTON
                                              UNITED STATES ATTORNEY


   AMBER RACHELL BAKER                        BRANDIE WADE
   Defendant                                  Assistant United States Attomey
                                              Texas State Bilr No. 24058350
                                              Burnett Plaza, Suite 1700
                                              1100 Cornmerce Street, 3d Floor
                                              Dal    Texas 75242
                                                             : 214-659-8600
                                                                4-659-8805




                                              JAY WEIMER
                 Defendant                    Deput-v Branch Clhief


           I have read or had ru'ad to rne this plca agrccmcnt and have carefully reviewed
               of it w'ith my           I fully understand it and voluntarily agree to it.



              RACHELL BAK-ER Date
   Defendant

           I am the defendant's attomey. I have carefully revicrved every parl of this plea
   agreement rvith the defendant. To my knorvledge aud belief, rny client's dccision to enter
   into this plea agreemcnt is an informed and voluntary one.


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          N                                   l)ate
                 Defendarrt




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